
SUMMARY ORDER
Debtor-Appellant appeals from the March 28, 2006 Memorandum and Order of the United States District Court for the Eastern District of New York (Trager, J.) denying his application for a stay during the pendency of his appeal of an order of the bankruptcy court lifting an automatic stay pursuant to 11 U.S.C. § 362(d). We assume the parties’ familiarity with the facts, procedural history, and issues on appeal.
This Court has already dismissed Appellant’s appeal of the district court’s order affirming the bankruptcy court’s orders lifting the automatic stay and dismissing with prejudice Appellant’s petition for relief under Chapter 13 of Title 11 of the Bankruptcy Code. In Re: Kevin Watkins, No. 07-1202-bk (2d Cir. June 19, 2007) (order dismissing appeal due to Petitioner’s failure to pay filing fee). Because Appellant here seeks a stay pending the decision of matters already decided, his appeal is DISMISSED as moot.
